                        IN THE UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF MISSOURI
                                     WESTERN DIVISION

LISA BENSON COOPER,                                   )
                                                      )
           Plaintiff,                                 )
v.                                                    )        No. 17-00041-CV-W-BP
                                                      )
SCRIPPS MEDIA, INC., et al.,                          )
                                                      )
           Defendants.                                )

     PLAINTIFF'S SUGGESTIONS IN OPPOSITION TO DEFENDANT’S MOTION TO
                        REDACT TRIAL TRANSCRIPT

           Defendant’s Motion to Redact significant portions of the trial transcript should be

DENIED. First, it is untimely, per this Court’s explicit notice entered 5/15/19 [Doc. 446] which

orders a deadline of 5/22/19 to file a Notice of Intent to File Redaction of Transcripts. Second,

and more importantly, defendant’s Motion does not begin to overcome the “common law right of

access to judicial records,” which is subject to this strong rule: “Only the most compelling

reasons can justify nondisclosure of judicial records.” In re Neal, 461 F. 3d 1048, 453 (8th Cir.

2006); see also Flynt v. Lombardi, 885 F. 3d 508, 511-12 (8th Cir.2018); IDT Corp. v. Ebay, 709

F. 3d 1220, 1222 (8th Cir. 2012); Webster Groves School Dist. v. Pulitzer Pub Co., 898 F. 2d

1371, 1374 (8th Cir. 1990). Finally, in a related vein, this Court has already soundly exercised its

discretion to DENY defendant’s earlier-filed Motion to redact names of witnesses.1

           Trial transcripts are quintessential exemplars of judicial records of court proceedings,

concerning which the public is granted unfettered, immediate access. Each and every item which

defendant news organization ironically seeks to cover up after-the-fact was placed in the public

domain in official court records that have been available and open for nearly half a year. Plaintiff



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    See Order Denying Motion to Redact Electronic Transcript [Doc. 289] filed 12/17/18,

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submits that defendant cannot show “compelling reasons” to blot from the now intact public trial

record, any of the information which plaintiff, as a journalist herself, risked much to assure

received a full airing in a public trial. Relevant admitted evidence such as salary history for

plaintiff and those awarded promotions she sought as part of her claim is a far cry from “trade

secrets.” Such salary evidence is a rather mundane and routine by-product of a promotion denial

trial. The same can be said for non-sensitive, contextual evidence that many witnesses (including

plaintiff) took routine leaves of absence, mostly for pregnancy.

       In re Neal, supra, involved sealed portions of bankruptcy filings by former municipal

court judge Deborah Neal. Neal filed a motion to seal the names of attorney creditors who had

lent her money. 461 F. 3d at 1050-52. The bankruptcy court exercised its discretion by filing the

list under seal ̶ but after the non-party KC Star objected, the Eighth Circuit ultimately reversed.

In re Neal cites Nixon v. Warner Communications, Inc., 435 U.S. 589 (1978), for the Supreme

Court’s recognition of the public’s common-law “general right to inspect and copy public

records and documents, including judicial records and documents.” In re Neal at 1053, citing

Nixon at 435 U.S. 597. Granted, the public right of access is “not absolute,” but only “the most

compelling reasons” can overcome it. (Id. at 1053):

   “Although the court is given this supervisory power, only the most compelling reasons
   can justify nondisclosure of judicial records. (Bold added)

Section 107 of the Bankruptcy Code also codifies a broad right of public to bankruptcy filings,

subject only to limited exceptions. Id. at 1053.

       Under common law right of access, the public presumptively is granted unfettered access

to testimony and records admitted into evidence in a public civil trial. Only “the most compelling

reasons can justify nondisclosure.” Id. at 1053. After acknowledging that the bankruptcy court’s

decision was reviewable only for abuse of discretion, the Eighth Circuit nonetheless reversed,

                                                   2

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holding that “Neal’s creditor’s list is not a governmental matter made confidential by statute or

regulation….As such, the bankruptcy court abused its discretion in relying on Rule 9018 to seal

the list of Neal’s creditors.” Id. at 1056. The same result should be obtained here.

        IDT Corp v. Ebay, supra, unlike here, involves true “trade secret” concerns. Several

technological entities had been involved in a series of patent disputes in which there had been

“exchange of sensitive financial and technological information.” 709 F. 3d at at 1221. Discovery

took place under protective orders, and as trial approached in a previous controversy IDT and

others filed an allegation of conspiracy to monopolize. “The only public record” of the

conspiracy lawsuit “is a Civil Cover Sheet on file with the District Court.” Id. The plaintiff

submitted an unopposed motion to file the Complaint under seal because of the sensitive nature

of the patent infringement actions. Id. at 1221-22. The district court granted the motion, the

complaint was filed under seal and 3 weeks later the parties reached a settlement in all 3 cases.

They filed a joint stipulation of dismissal.

        In IDT, wholly unlike our case, virtually nothing had been disclosed in public. The

district court dismissed the anti-trust suit with prejudice, and thereafter a public law center

moved to intervene in the lawsuit to unseal the complaint. The Eighth Circuit acknowledged the

common law right of public access to judicial records, including the general right “to inspect and

copy public records and documents, including judicial records and documents,” but again noted

that the right to inspect “is not absolute.” Id. at 1222. IDT cites Webster Groves School District,

supra, in which the Eighth Circuit applied the common law right of access to a civil proceeding.2




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 IDT cites with approval a Second Circuit case, Lugosch v. Pyramid Co. of Onondaga, 435 F. 3d 100 (2nd Cir.
2006). Lugosch is pertinent to our case, because the Second Circuit held that “documents submitted to a court in
support of or in opposition to a motion for summary judgment are judicial documents to which a presumption of
immediate public access attaches.” 435 F. 3d at 126. Here we have public summary judgment filings as well.

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       Recall that in IDT, nothing had been made public, and an outside public law group came

in after dismissal ̶ seeking unsealing of documents, in the interest of “an open court system.” Id.

at 1223. The district court expressly had found that the sealed information covered trade secrets

and other confidential research. Id. at 1223. There is no such “trade secret” characteristic

inherent in run-of-the-mill salary information ̶ despite defendant’s creative arguments . Unlike

Lisa Benson’s situation, in IDT, “the court never adjudicated any aspect of the claims on the

merits; its only action before APLC’s intervention was to enter a stipulated dismissal based on a

settlement.” Id. at 1224. Thus, the public’s interest in access was held to be “weak.” Based on all

those compelling reasons, the Eighth Circuit concluded the district court did not abuse its

discretion in determining the potential harm in unsealing “confidential and competitively

sensitive information” outweighed the APLC’s “generalized interest in access to the Complaint.”

Id. at 1224.

        Even then, the Eighth Circuit was troubled that the trial court sealed everything without

exploring whether portions of the Complaint could be “amendable to public access without

jeopardizing the confidentiality of sensitive information exchanged in the patent infringement

litigation.” Id. at 1224. For that reason, the Eighth Circuit vacated the district court’s order

denying the outside entity’s motion to unseal the Complaint, and remanded for the district court

“to assess whether redaction of confidential business information is practicable.” Id. at 1225. The

point is that, even though there was nothing in the public domain before a third-party with no

connection to the litigation sought to “unseal” confidential trade secret information after

dismissal, the Eighth Circuit still takes action to assure that right of access was given every

possible consideration.




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       In Flynt, supra, this Court presided over litigation challenging Missouri’s lethal injection

protocols, under Eighth Amendment strictures. As in previously discussed cases, a third-party

intervenor filed a motion to unseal certain judicial records, some of which would disclose the

identity of providers of the drugs utilized. At issue was “the personal professional safety of one

or more members of the execution team.” 885 F. 3d at 511. The presumption of public access to

judicial records was held to be overcome by such compelling reasons. Further, the compounding

pharmacies whose identities were being sought had been “harassed and threatened” and

subjected to “publicity and coercion.” Id. at 512. This Court found that revealing licensure

information to the public “would professionally harm and interfere with the privacy rights of M3

and M2, and likely would thwart the State’s administration of the death penalty.” Id. The Eighth

Circuit understandably held that this Court did not abuse its discretion in tipping the balance in

favor of the “execution members’ rights to privacy and the State’s right to carry out its

executions.” Id. This Court followed the IDT opinion by exercising its discretion to determine

whether documents in question “could be unsealed but redacted to keep the sensitive identifying

information confidential.” Id. at 512. This Court conducted in camera review and ultimately

determined that redaction would not be possible. Id.

       A party seeking to remove from the record of a public trial evidence that it had a role in

placing into that record should have a much harder burden than parties who are unrelated to the

litigation, who seek to make public matters which theretofore had been not public. In other

words, despite defendant’s efforts to represent the unidentified non-objecting employees ̶

including plaintiff ̶ whose routine “salary information” and medical leave information has been

made public, after evidence has been received at a public trial there is either no expectation of

privacy, or any previous expectation of privacy has disappeared by the routine public disclosure.



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In Cox Broadcasting Corp. v. Cohn, 420 U.S. 469, 495 (1975) the Supreme Court held that the

press could publish the name of a rape victim after the name had been “placed in the public

domain on official court records.” Salary and leave information similarly has been in the public

domain in this case for nearly 6 months.

       In Mann v. Boatright, 477 F. 3d 1140 (10th Cir. 2007) (cited in IDT at 709 F. 3d 1222) a

plaintiff who sought to seal records that already had been disclosed previously in public probate

court proceedings was held not able to suppress. The trial court had denied the plaintiff’s motion

to place supposedly private information under seal and Mann recognized that the common law

right of access to judicial records can be rebutted only if countervailing interests “heavily

outweigh the public interest in access.” 477 F. 3d at 1149. The Tenth Circuit affirmed the district

judge’s discretion, “noting that much of the information contained in Beverly’s Complaint

appears to have been disclosed previously in the public probate court proceedings, further

undermining her privacy concerns.” Id. The exact same can be said of the salary and medical

leave information already publicly and routinely disclosed during this trial. The arguable privacy

concerns defendant raises are not “compelling” enough to justify sealing the transcript of

evidence long residing in the public domain.

       In Security Nat’l Bank of Sioux City v. Abbott Labs, 2014 WL 1260315 (N.D. Iowa,

2014), Judge Bennett redacted and sealed certain exhibits that the Judge found “contained trade

secrets (or similarly confidential) information.” Judge Bennett expressly found that “Abbott’s

business could be prejudiced if competitors were given access to Abbott’s private documents.”

Not so here. The best defendants can muster is pure argument ̶ without specific factual or legal

support ̶ that “salary information would likely qualify as economically valuable” to competitors

(D’s Sugg. In Support, p. 3). And defendant’s pure argument for a “proprietary interest in its



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employees’ medical and personal information,” (Id.), does not overcome the common law

protection of public court proceedings. In fact, as this Court held in Doc. 289 (p.2): “[T]his is

not a valid privacy interest ̶ at least, it is not one that justifies sealing this Court’s records and

proceedings.”

                                           CONCLUSION

        For the reasons stated herein, Defendant’s Motion to Redact Trial Transcript should be

DENIED.



                                                        Respectfully submitted,

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                                CERTIFICATE OF SERVICE

        I hereby certify the foregoing was served this 13th day of June, 2019 by sending via
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